 Case: 4:17-cv-00759-RLW Doc. #: 44 Filed: 03/29/19 Page: 1 of 2 PageID #: 140



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
V.                                                    )       Cause no. 4:17cv00759 RLW
                                                      )
                                                      )
$111,516.68 FROM US BANK ACCOUNT                      )
ENDING IN 2686 ET AL                                  )
                                                      )
                               Defendant.             )

                       AMENDED FINAL JUDGMENT AND ORDER

       WHEREAS, all potential claimants have been given notice of this proceeding in

accordance with the requirements of Supplemental Rule G of the Federal Rules of Civil Procedure,

and the time for filing claims has expired;

       AND WHEREAS, the parties are m agreement as to the amendment proposed m

Claimant's timely Second Motion to Amend Final Judgment [DOC 41];

       AND WHEREAS, a settlement agreement has been reached between the United States and

Irma Khoja and Jiunn-Renn Chen, who are the only Claimants joined in this proceeding;

       AND WHEREAS, the Court's acceptance of the terms of this Settlement Agreement and

entry of its Final Judgement and Order do not constitute findings of fact or any other conclusion

regarding the validity of the allegations as set forth in the Verified Complaint;

       AND WHEREAS, pursuant to that agreement, the parties have agreed to the entry of a

final judgment and order of forfeiture as set forth below;




                                                  1
 Case: 4:17-cv-00759-RLW Doc. #: 44 Filed: 03/29/19 Page: 2 of 2 PageID #: 141



          IT IS HEREBY ORDERED THAT the defendant property in the amount of Fifty-Five

Thousand, Nine Hundred Seventy Dollars and Forty-Five Cents ($55,970.45), shall be forfeited to

the United States of America to be disposed of according to law.

          IT IS FURTHER ORDERED THAT the defendant property in the amount of Fifty-Five

Thousand, Nine Hundred Seventy Dollars and Forty-Five Cents ($55,970.45), less any debt owed

to the United States, any agency of the United States, or any other debt in which the United States

is authorized to collect pursuant to the Debt Collection Improvement Act of 1966, Title 31, United

States Code, Section 3716 and other programs such as the Treasury Offset Program, shall be

returned to the Claimants, Irma Khoja and Jiunn-Renn Chen, by and through their attorney,

Richard H. Sindel.

          IT IS FURTHER ORDER THAT, pursuant to the terms of the Settlement Agreement

between the parties, any accumulated interest earned on the defendant property while held in the

Asset Forfeiture Fund will be divided equally between the United States (50%) and Claimants

(50%).

          IT IS FURTHER ORDERED THAT each party shall bear its own costs incurred in this

action.

                                                     SO ORDERED,


                                                      ~~~
                                                     HONORABLE RONALD L. WHITE
                                                     UNITED STATES DISTRICT JUDGE


Dated on thisd.ay or$Mao19.




                                                2
